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     and Indigo Technologies, LLC
13
                          IN THE UNITED STATES DISTRICT COURT
14                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
15
16   GENTEX CORPORATION and INDIGO
     TECHNOLOGIES, LLC,
17                                                   Case No. 4:22-cv-03892-YGR
                           Plaintiffs,
18                                                   DECLARATION OF ADAM D. HARBER
     THALES VISIONIX, INC.,                          IN SUPPORT OF STIPULATION TO
19                                                   EXTEND DEADLINE TO FILE REPLY
                           Involuntary Plaintiff,    BRIEF RE JOINT MOTION TO
20                                                   DISMISS
             v.
21
     META PLATFORMS, INC. and META                  Judge:      Hon. Yvonne Gonzalez Rogers
22   PLATFORMS TECHNOLOGIES, LLC,

23                         Defendants.

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     DECLARATION OF ADAM D. HARBER ISO                            CASE NO. 4:22-CV-03892-YGR
     STIPULATION TO EXTEND DEADLINE
         Case 4:22-cv-03892-YGR Document 148-1 Filed 01/30/24 Page 2 of 3



 1          I, Adam Harber, do hereby declare as follows:
 2          1.      I am an attorney licensed to practice law in the District of Columbia and admitted pro
 3   hac vice in this matter.     I am counsel to voluntary plaintiffs Gentex Corporation and Indigo
 4   Technologies, LLC (collectively, “Gentex”). I have personal knowledge of the matters set forth below
 5   and if called and worn as a witness, I could and would testify competently to the facts set forth herein.
 6          2.      I make this declaration in accordance with Local Rule 6-2(a) in support of the
 7   concurrently filed Stipulation and [Proposed] Order To Extend Deadline To File Reply Brief re: Joint
 8   Motion To Dismiss.
 9          3.      On January 12, 2024, Gentex and Defendants Meta Platforms, Inc. and Meta Platforms
10   Technologies, LLC (collectively, “Meta”) jointly moved to dismiss this action. See Docket No. 139.
11          4.      On January 26, 2024, Involuntary Plaintiff Thales Visionix, Inc. (“Thales”) filed a
12   response to Gentex’s and Meta’s joint motion to dismiss. See Docket No. 146.
13          5.      Gentex’s and Meta’s reply brief in support of their motion is currently due on February
14   2, 2024.
15          6.      Due to the need for Gentex and Meta to file a joint brief, as well as the need for certain
16   of Gentex’s counsel to participate in an in-person hearing on January 31, 2024 in the United States
17   District Court for the Western District of Texas in another case, the parties respectfully request a short
18   extension of the deadline for Gentex’s and Meta’s reply brief until February 7, 2024.
19          7.      While the case was pending in the United States District Court for the Western District
20   of Texas, the parties stipulated to five previous extensions of deadlines relating to service of
21   contentions, claim construction briefing, briefing on Meta’s motion to transfer, and venue discovery,
22   none of which affected the schedule for the case in that court. See Docket Nos. 28, 38, 42, 60, 69.
23          8.      After the case was transferred to this Court, the parties have stipulated to extend the
24   deadline for Gentex to file an opposition to Meta’s motion for leave to file an amended answer. See
25   Docket No. 131. The parties later stipulated to vacate the briefing deadlines for that motion in light
26   of the parties’ stipulation to stay the case pending inter partes review. See Docket No. 133.
27          9.      The requested time modification would not affect the schedule for the case, as the case
28   is currently stayed and administratively closed. See Docket Nos. 134, 136.
      DECLARATION OF ADAM D. HARBER ISO                1                CASE NO. 4:22-CV-03892-YGR
      STIPULATION TO EXTEND DEADLINE
        Case 4:22-cv-03892-YGR Document 148-1 Filed 01/30/24 Page 3 of 3



1           10.     I declare under penalty of perjury under the laws of the United States of America that
2    the foregoing is true and correct to the best of my knowledge.
3

4    Executed this 30th day of January, 2024 in Washington, D.C.
5

6                                                             /s/ Adam D. Harber
7                                                           Adam D. Harber
8

9                                      SIGNATURE ATTESTATION
10          Under Local Rule 5-1(i)(3), I attest that I have obtained concurrence in the filing of this
11   document from the other signatory.
12

13   Dated: January 30, 2024
14                                                          Matthew S. Warren
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      DECLARATION OF ADAM D. HARBER ISO                 2                  CASE NO. 4:22-CV-03892-YGR
      STIPULATION TO EXTEND DEADLINE
